          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 1 of 19



WILKINSON STEKLOFF LLP                          ARNOLD & PORTER KAYE SCHOLER LLP
Brian L. Stekloff (pro hac vice)                William Hoffman (pro hac vice)
(bstekloff@wilkinsonstekloff.com)               (william.hoffman@arnoldporter.com)
Rakesh Kilaru (pro hac vice)                    Daniel S. Pariser (pro hac vice)
(rkilaru@wilkinsonstekloff.com)                 (daniel.pariser@arnoldporter.com)
2001 M Street, NW, 10th Floor                   601 Massachusetts Avenue, NW
Washington, DC 20036                            Washington, DC 20001
Tel: 202-847-4030                               Tel: 202-942-5000
Fax: 202-847-4005                               Fax: 202-942-5999

HOLLINGSWORTHLLP
Eric G. Lasker (pro hac vice)
(elasker@hollingsworthllp.com)
Martin C. Calhoun (pro hac vice)
(mcalhoun@hollingsworthllp.com)
1350 I Street, NW
Washington, DC 20005
Tel: 202-898-5800
Fax: 202-682-1639

Attorneys for Defendant
MONSANTO COMPANY

                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS                     )   MDL No. 2741
LIABILITY LITIGATION                        )
                                            )   Case No. 3:16-md-02741-VC
                                            )
THIS DOCUMENT RELATES TO:                   )   DEFENDANT MONSANTO COMPANY’S
                                            )   OPPOSITION TO PLAINTIFF’S MOTION
Sue Coffman, as Personal Representative of )    TO REMAND COFFMAN CASE
the Estate of Kevin Coffman, Deceased v.    )
Monsanto Company, et al., Case No. 3:21-cv- )
02505-VC                                    )
                                            )




    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
               Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 2 of 19



                                                  TABLE OF CONTENTS

                                                                                                                                     Page

INTRODUCTION AND ISSUES TO BE DECIDED.................................................................... 1

FACTUAL BACKGROUND AND PROCEDURAL HISTORY .................................................. 1

LEGAL STANDARDS ................................................................................................................... 2

ARGUMENT .................................................................................................................................. 4

     I. Monsanto Presented Evidence That Clearly Establishes Fraudulent Joinder, And
        Plaintiff’s Unsupported Speculation And Allegations Fail To Rebut Monsanto’s
        Evidence-Based Showing. .................................................................................................. 4

     II. The Notice Of Removal Was Timely Based On Section 1446(b) Because The Valley
         Fertilizer Interrogatory Responses Were The “Other Paper” That First Made This
         Lawsuit Removable. ......................................................................................................... 10

CONCLUSION ............................................................................................................................. 15




                                         i
      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                        3:16-md-02741-VC & 3:21-cv-02505-VC
               Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 3 of 19



                                                TABLE OF AUTHORITIES

Federal Court Cases                                                                                                               Page(s)

Arias v. Follet Higher Educ. Corp.,
   No. 8:18-cv-01965-JLS-JDE, 2019 WL 484192 (C.D. Cal. Feb. 7, 2019) ..................... 3, 9-10

Barakat v. Costco Wholesale Corp.,
   No. 20-cv-02248-JCS, 2020 WL 3635933 (N.D. Cal. July 6, 2020)...........................10, 12, 14

Brittain v. Pac. Cycle, Inc.,
    No. 5:17-cv-00148-RJC-DCK, 2018 WL 6584482 (W.D.N.C. Dec. 14, 2018)................13, 14

Carvalho v. Equifax Info. Servs., LLC,
   629 F.3d 876 (9th Cir. 2010) .........................................................................................4, 10, 11

Chan Healthcare Grp., PS v. Liberty Mut. Fire Ins. Co.,
   844 F.3d 1133 (9th Cir. 2017) ...........................................................................................13, 14
Durham v. Lockheed Martin Corp.,
   445 F.3d 1247 (9th Cir. 2006) ...........................................................................................11, 13

Feizbakhsh v. Travelers Com. Ins. Co.,
   No. LA CV16-02165 JAK (Ex), 2016 WL 8732296 (C.D. Cal. Sept. 9, 2016) .................3, 10

Grancare, LLC v. Thrower,
   889 F.3d 543 (9th Cir. 2018) .....................................................................................................3

Harris v. Bankers Life & Cas. Co.,
   425 F.3d 689 (9th Cir. 2005) ...................................................................................................13

Highwire Promotions, LLC v. Legends Mktg., LLC,
   No. CV 05-5425 ABC, 2005 WL 8156562 (C.D. Cal. Oct. 31, 2005) ....................................12

Illegal Aliens, LLC v. N. Am. Specialty Ins. Co.,
    No. CV 14-07502 DDP, 2015 WL 1636715 (C.D. Cal. Apr. 10, 2015) ...................................4

Martin v. Franklin Cap. Corp.,
  546 U.S. 132 (2005) .................................................................................................................15

Martinez v. McKesson Corp.,
  No. 3:15-cv-02903-H-JLB, 2016 WL 5930271 (S.D. Cal. Apr. 7, 2016) ...........................3, 10

Mattel, Inc. v. Bryant,
   441 F. Supp. 2d 1081 (C.D. Cal. 2005), aff’d on other grounds, 446 F.3d 1011
   (9th Cir. 2006)..........................................................................................................................12

Morris v. Princess Cruises, Inc.,
  236 F.3d 1061 (9th Cir. 2001) ...................................................................................................3

Ritchey v. Upjohn Drug Co.,
    139 F.3d 1313 (9th Cir. 1998) ...................................................................................................3



                                         ii
      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                        3:16-md-02741-VC & 3:21-cv-02505-VC
               Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 4 of 19



In re Roundup Prods. Liab. Litig. (Abreu, et al.),
    396 F. Supp. 3d 893 (N.D. Cal. 2019) .....................................................................................14

In re Roundup Prods. Liab. Litig. (Cichy),
    MDL No. 2741, 2019 WL 6122004 (N.D. Cal. Nov. 19, 2019) ................................................3

Torkie-Tork v. Wyeth,
   757 F. Supp. 2d 567 (E.D. Va. 2010) ........................................................................................5

Vu v. Ortho-McNeil Pharm., Inc.,
   602 F. Supp. 2d 1151 (N.D. Cal. 2009) ...............................................................................4, 10

White v. Raley’s,
   No. 3:20-cv-00457-MMD-WGC, 2020 WL 8474573 (D. Nev. Oct. 19, 2020) ......................14

State Court Cases

Featherall v. Firestone Tire & Rubber Co.,
   252 S.E.2d 358 (Va. 1979) ........................................................................................................5

Funkhouser v. Ford Motor Co.,
   736 S.E.2d 309 (Va. 2013).................................................................................................5, 8, 9

Owens-Corning Fiberglas Corp. v. Watson,
  413 S.E.2d 630 (Va. 1992).............................................................................................5, 6, 8, 9

Statutes

28 U.S.C. § 1441(b) .........................................................................................................................2

28 U.S.C § 1446(b) ................................................................................................................ passim




                                        iii
      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                        3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 5 of 19




                     INTRODUCTION AND ISSUES TO BE DECIDED

       In its Notice of Removal, ECF No. 1, Monsanto Company (“Monsanto”) pierced the

pleadings by presenting evidence – sworn interrogatory responses served by defendant The

Valley Fertilizer and Chemical Company (“Valley Fertilizer”) – that clearly establishes that

Plaintiff Sue Coffman fraudulently joined Valley Fertilizer in an effort to deprive Monsanto of its

important right to remove this case to federal court. The Motion to Remand (“Remand Motion”),

ECF No. 6, filed by Plaintiff does not present any evidence to rebut Monsanto’s evidence-based,

fraudulent joinder showing, and her unsupported speculation and allegations about her claims

against Valley Fertilizer fail to provide any persuasive basis for this Court to order remand.
       Plaintiff apparently recognizes that she has no persuasive response to Monsanto’s

fraudulent joinder showing, so she argues that the Notice of Removal was untimely, but that

argument also lacks merit. Pursuant to 28 U.S.C § 1446(b), this removal was timely because the

Complaint named Valley Fertilizer – a Virginia defendant that precluded removal – and this case

first became removable when Valley Fertilizer served the interrogatory responses upon which

Monsanto based its evidence-based fraudulent joinder arguments. Those interrogatory responses

were the Section 1446(b) “other paper” that made this case removable, and Monsanto timely

filed the Notice of Removal within thirty days of the date when Valley Fertilizer served them.

       The issues to be decided are whether, in these circumstances: (1) Valley Fertilizer has

been fraudulently joined; and (2) Monsanto timely removed this case. As discussed in more
detail below, the answers to both questions are “Yes.”

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       In September 2020, Plaintiff commenced this lawsuit by filing a complaint in a Virginia

court. She asserts claims against Monsanto based on the allegation that Roundup®-branded

herbicides caused her husband Kevin Coffman’s non-Hodgkin’s lymphoma (“NHL”) and death.

See, e.g., Compl. ¶¶ 4, 124-38 (attached to Notice of Removal as Ex. 2), ECF No. 1-2.1


1
 Although the Complaint sometimes alleges that “Plaintiff” was exposed to Roundup®-branded
herbicides and developed NHL, see, e.g., Compl. ¶¶ 172, 184, 188, that appears to be careless
drafting. The caption and other allegations, see, e.g., id. ¶¶ 170, 189-92, show that Plaintiff is
                                       1
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
           Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 6 of 19




       Plaintiff also asserts claims against Valley Fertilizer and Costco Wholesale Corporation

(“Costco”). Mr. Coffman allegedly purchased Roundup®-branded herbicides at a Valley

Fertilizer store and a Costco store. Compl. ¶ 3. By asserting claims against Valley Fertilizer (a

Virginia citizen for purposes of diversity jurisdiction, id. ¶ 11), Plaintiff tried to prevent removal

due to lack of diversity of citizenship and the forum defendant rule, 28 U.S.C. § 1441(b).2

       In January 2021, Valley Fertilizer sought dismissal by filing a demurrer. Valley Fertilizer

Demurrer (“Demurrer”) (attached to Remand Motion as Ex. 1), ECF No. 6-1. The Demurrer was

based solely on conclusory, unsworn arguments by counsel and did not present any evidence.

       On February 15, 2021, Valley Fertilizer responded to Plaintiff’s interrogatories by serving
responses that were signed by its attorney but were not sworn under oath by Valley Fertilizer.

Notice of Removal ¶ 23. On February 26, 2021, Valley Fertilizer served the same responses,

signed under penalty of perjury by its President/General Manager. Valley Fertilizer Interrogatory

Responses (attached to Notice of Removal as Ex. 3), ECF No. 1-3.3

       On March 17, 2021, within thirty days of the service dates of the Valley Fertilizer

Interrogatory Responses (both the unsworn and sworn responses), Monsanto timely filed the

Notice of Removal. That removal occurred before Plaintiff responded to, and before a hearing

was held on, the Demurrer.

       After this case was transferred to this Court, Plaintiff filed the Remand Motion. She does

not dispute that complete diversity of citizenship exists here if the Court disregards Valley
Fertilizer’s citizenship. She also does not dispute that this case satisfies the jurisdictional

amount-in-controversy requirement for diversity-based subject matter jurisdiction.

                                      LEGAL STANDARDS

       As the Ninth Circuit has held, a defendant can remove a case to federal court even in the

not pursuing claims for her own injuries but is acting in her representative capacity for Mr.
Coffman’s estate.
2
  Costco is deemed to be a citizen of the State of Washington for purposes of federal diversity
jurisdiction. See Compl. ¶ 13. Plaintiff admits that Costco does not destroy diversity of
citizenship and that Costco consented to this removal. See Remand Motion at 3.
3
  The Valley Fertilizer Interrogatory Responses cited herein (and attached to the Notice of
Removal) are the sworn responses that Valley Fertilizer served on February 26.
                                       2
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
           Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 7 of 19




absence of complete diversity of citizenship. “[O]ne exception to the requirement of complete

diversity is where a non-diverse defendant has been ‘fraudulently joined.’” Morris v. Princess

Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001). A defendant removing a case from state court

based on a fraudulent joinder argument is required to show that there is no possibility that the

state court would hold the non-diverse co-defendant liable. Grancare, LLC v. Thrower, 889 F.3d

543, 548 (9th Cir. 2018). When fraudulent joinder applies – i.e., when “the plaintiff fails to state

a cause of action against a resident defendant, and the failure is obvious according to the settled

rules of the state,” Morris, 236 F.3d at 1067 (quotation marks omitted) – the fraudulently joined

defendant’s “presence in the lawsuit is ignored” for purposes of determining whether the court
has jurisdiction based on diversity of citizenship, id.4

       When conducting a fraudulent joinder analysis, a court is not limited to the allegations in

the complaint and is permitted to consider declarations and other evidence presented by the

removing defendant. See Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir. 1998);

Morris, 236 F.3d at 1068 (stating that “[f]raudulent joinder claims may be resolved by ‘piercing

the pleadings’ and considering summary judgment-type evidence” (quoting Cavallini v. State

Farm Mut. Auto Ins. Co., 44 F.3d 256, 263 (5th Cir. 1995))). If a removing defendant pierces the

pleadings by presenting evidence showing that a non-diverse co-defendant has been fraudulently

joined, the plaintiff cannot rely on allegations in the complaint to seek remand. See Arias v.

Follet Higher Educ. Corp., No. 8:18-cv-01965-JLS-JDE, 2019 WL 484192, at *3 (C.D. Cal. Feb.
7, 2019); Feizbakhsh v. Travelers Com. Ins. Co., No. LA CV16-02165 JAK (Ex), 2016 WL

8732296, at *8 (C.D. Cal. Sept. 9, 2016); Martinez v. McKesson Corp., No. 3:15-cv-02903-H-

JLB, 2016 WL 5930271, at *3 (S.D. Cal. Apr. 7, 2016). If a plaintiff argues that it is possible for

her to state a claim against the non-diverse defendant, that possibility must be “non-fanciful” for


4
  The Remand Motion repeatedly cites Fourth Circuit law regarding the federal issues presented
by the Remand Motion – whether the Notice of Removal properly invoked federal diversity
jurisdiction by presenting fraudulent joinder arguments. However, as this Court held when
deciding a remand motion in another Roundup® lawsuit, Ninth Circuit precedent – not the
transferor circuit’s law – is binding on issues of federal law presented in remand motions
submitted to this Court. See In re Roundup Prods. Liab. Litig. (Cichy), MDL No. 2741, 2019
WL 6122004, at *1 (N.D. Cal. Nov. 19, 2019).
                                       3
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 8 of 19




the case to be remanded. Illegal Aliens, LLC v. N. Am. Specialty Ins. Co., No. CV 14-07502

DDP (ASx), 2015 WL 1636715, at *2 (C.D. Cal. Apr. 10, 2015); Vu v. Ortho-McNeil Pharm.,

Inc., 602 F. Supp. 2d 1151, 1154 (N.D. Cal. 2009).

       The timeliness of a removal notice is governed by 28 U.S.C. § 1446(b), which “identifies

two thirty-day periods for removing a case.” Carvalho v. Equifax Info. Servs., LLC, 629 F.3d

876, 885 (9th Cir. 2010). “The first thirty-day removal period is triggered if the case stated by

the initial pleading is removable on its face.” Id. (quotation marks omitted). If the complaint

“on its face” does not provide a basis for removal, a removal opportunity can arise later – for

example, when the removing defendant receives an “other paper” from which removability may
first be ascertained. Id. (quoting § 1446(b)).

                                          ARGUMENT

I.     Monsanto Presented Evidence That Clearly Establishes Fraudulent Joinder, And
       Plaintiff’s Unsupported Speculation And Allegations Fail To Rebut Monsanto’s
       Evidence-Based Showing.
       Virginia law and the evidence presented in the Notice of Removal – sworn interrogatory

responses served by Valley Fertilizer – establish that Plaintiff fraudulently joined Valley

Fertilizer. Plaintiff does not present any evidence to rebut Monsanto’s evidence-based showing,

and her unsupported speculation and allegations regarding her negligent-failure-to-warn claim

against Valley Fertilizer do not require remand.5

5
  The Complaint asserts various claims against Valley Fertilizer in addition to the negligent-
failure-to-warn claim, but the Remand Motion does not address any of those other claims. For
example, Plaintiff asserts strict liability claims against Valley Fertilizer. Compl. Count I &
Count II. But, as shown in the Notice of Removal, Virginia law does not recognize strict liability
claims in products liability cases. Notice of Removal ¶ 15. The Remand Motion does not
contend otherwise. Moreover, Count III (negligence claim) asserts various theories of liability
against Valley Fertilizer – not limited to negligent failure to warn – by using the word
“Defendants” and alleging that Defendants breached their duties to Plaintiff and were
negligent by, for example, developing, designing, testing, manufacturing, distributing, labeling,
or packaging Roundup®-branded herbicides. Based on the Valley Fertilizer Interrogatory
Responses, the Notice of Removal established that those liability theories are not viable as to
Valley Fertilizer because it “‘has never developed, designed, tested, manufactured, distributed,
labeled, or packaged Roundup®-branded herbicides’” and “‘has never had any involvement with
or control over any of those activities.’” Id. ¶ 16 (quoting Valley Fertilizer Interrogatory
Responses). Plaintiff does not dispute this showing or otherwise contend that she has a viable
basis to hold Valley Fertilizer liable on any negligence theory other than a failure-to-warn
theory. Count IV asserts a claim for breach of implied warranties. However, the Notice of
Removal established, based on the Valley Fertilizer Interrogatory Responses, that Plaintiff does
                                        4
     MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                       3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 9 of 19




       Plaintiff does not have a viable negligent-failure-to-warn claim against Valley Fertilizer.

To prevail on that claim under Virginia law, she has the burden of proving (among other

elements) that, when Valley Fertilizer sold the Roundup®-branded herbicides that allegedly

caused Mr. Coffman’s cancer, Valley Fertilizer knew or had reason to know that those products

were dangerous for their intended use. See Owens-Corning Fiberglas Corp. v. Watson, 413

S.E.2d 630, 634 (Va. 1992) (citing Featherall v. Firestone Tire & Rubber Co., 252 S.E.2d 358,

366 (Va. 1979)); Funkhouser v. Ford Motor Co., 736 S.E.2d 309, 313 (Va. 2013) (quoting

Owens-Corning, 413 S.E.2d at 634). As the Virginia Supreme Court stated, the appropriate

standard is whether the defendant had “reason to know,” not whether it “should have known,” of
the alleged danger, Owens-Corning, 413 S.E.2d at 635, and “[t]here is a significant legal

difference between [those] phrases,” id. at 634. The “reason to know” standard is more

favorable for a defendant and imposes a more demanding burden on a plaintiff than the “should

know” standard. The “reason to know” standard “implies no duty of knowledge on the part of

the actor whereas ‘should know’ implies that the actor owes another the duty of ascertaining the

fact in question.” Funkhouser, 736 S.E.2d at 315 n.5 (quoting Owens-Corning, 413 S.E.2d at

635 (emphasis added)); Torkie-Tork v. Wyeth, 757 F. Supp. 2d 567, 572 (E.D. Va. 2010) (stating

that “a failure to warn claim rests on a reason to know standard rather than the broader should

have known standard” (emphasis in original)).

       The distinction discussed above is important because the “reason to know” standard
means that product manufacturers are not held liable on a negligent-failure-to-warn theory for

not taking proactive steps to keep informed of publications in scientific journals or other

discoveries regarding potential risks posed by their products. As the Virginia Supreme Court

stated, the following jury instruction imposed an “inappropriate standard” under Virginia law

due to the “reason to know” standard: “As an expert, a manufacturer is required to keep informed

of the knowledge of experts in its field of manufacturing including scientific knowledge and

not have a viable breach-of-implied-warranty claim against Valley Fertilizer. See id. ¶ 18
(quoting Valley Fertilizer Interrogatory Responses). Again, the Remand Plaintiff does not
contend otherwise.

                                       5
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
           Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 10 of 19




discoveries made in that field.” Owens-Corning, 413 S.E.2d at 635 (emphasis added). If a large

manufacturer like Owens-Corning is not required to keep informed of scientific knowledge and

discoveries in its field of manufacturing, then a local retail seller of Roundup®-branded

herbicides (Valley Fertilizer) clearly has no duty under Virginia law to take proactive steps to

keep informed of scientific knowledge and discoveries regarding those products.

         When Valley Fertilizer sold the Roundup®-branded herbicides that allegedly caused Mr.

Coffman’s cancer, “Valley Fertilizer did not know, and had no reason to know, of any alleged

causal connection between cancer and glyphosate, Roundup®-branded herbicides, or other

glyphosate-based herbicides.” Valley Fertilizer Interrogatory Responses (Response to
Interrogatory No. 13), ECF No. 1-3. “[T]he first time that Valley Fertilizer became aware that

anyone had even alleged the possibility that the risk of cancer may be increased by exposure to

glyphosate, Roundup®-branded herbicides, or any other glyphosate-based herbicides was when

Tom Rea, President and General Manager of Valley Fertilizer, learned from news reports in the

late summer/fall of 2018 about large verdicts issued by California juries against Monsanto

Company in lawsuits by plaintiffs alleging that their cancers were caused by Roundup®-branded

herbicides.” Id. “The first such verdict was issued in August 2018, so that is the earliest possible

date when Valley Fertilizer became aware of an alleged possible connection between cancer and

glyphosate, Roundup®-branded herbicides, or any other glyphosate-based herbicides. This was

after Kevin Coffman allegedly was diagnosed with cancer in April 2018 (according to the
Complaint filed in this action).” Id.6 Moreover, “Valley Fertilizer had no involvement with –

and had no control over – the process of deciding what warnings or other statements would be

made on the labels for Roundup®-branded herbicides (or any other herbicide). Valley Fertilizer

has never created, and does not have, its own labels for Roundup®-branded herbicides (or any

other herbicide) and has never conferred with the [Environmental Protection Agency (“EPA”)]

about what should be included on any labels for those herbicides.” Valley Fertilizer

Interrogatory Responses (Response to Interrogatory No. 3). The interrogatory responses


6
    Mr. Coffman allegedly was diagnosed with NHL in April 2018. Compl. ¶ 4.
                                         6
      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                        3:16-md-02741-VC & 3:21-cv-02505-VC
         Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 11 of 19




demonstrate that Valley Fertilizer had no reason to know that Roundup®-branded herbicides pose

a cancer risk because “Valley Fertilizer has never received any statements, communications,

notices, or complaints from any of its customers (except for this lawsuit filed by Sue Coffman)

about glyphosate, Roundup®-branded herbicides, or other glyphosate-based herbicides allegedly

causing (or contributing to causing) cancer.” Valley Fertilizer Interrogatory Responses

(Response to Interrogatory No. 21).

       The conclusion that Valley Fertilizer neither knew nor had reason to know that

Roundup®-branded herbicides allegedly cause cancer also follows from Plaintiff’s own baseless

allegations that, for decades, Monsanto concealed that glyphosate and Roundup®-branded
herbicides cause cancer – and engaged in other misconduct to mislead farmers and the general

public that these products are safe. See, e.g., Compl. ¶¶ 27, 30, 50-52, 78-79, 117. Although

Monsanto denies those allegations, they support the interrogatory responses that Valley Fertilizer

did not know, and had no reason to know, about any alleged causal connection between cancer

and Roundup®-branded herbicides. Moreover, those interrogatory responses are consistent with,

and bolstered by, important facts: (a) Roundup®-branded, glyphosate-based herbicides repeatedly

have been approved by the EPA – the federal regulatory agency authorized by Congress to

regulate herbicides – with EPA-approved labeling that did not include a cancer warning

throughout the entire period that Mr. Coffman allegedly used these products; (b) these products

currently remain on the market as EPA-approved products without a cancer warning; and (c) as
recently as January 2020, the EPA reiterated its long-standing regulatory and scientific

determination that “‘there are no risks to human health from the current registered uses of

glyphosate and that glyphosate is not likely to be carcinogenic to humans,’” Notice of Removal

at 10 n.4 (quoting EPA, Response from the Pesticide Re-evaluation Division (PRD) to

Comments on the Glyphosate Proposed Interim Decision at 4 (attached to Notice of Removal as

Ex. 1), ECF No. 1-1). When deciding to sell Roundup®-branded herbicides, Valley Fertilizer

reasonably relied on the EPA’s regulatory approval of those products and the EPA’s scientific
and regulatory determinations that glyphosate and glyphosate-based herbicides (including


                                       7
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 12 of 19




Roundup®-branded herbicides) are not carcinogenic and that therefore these herbicides are

approved for sale without a cancer warning. Id. (citing Valley Fertilizer Interrogatory Responses

(Response to Interrogatory No. 1)).

       Thus, applying Virginia law to the evidence submitted in the Notice of Removal leads

inexorably to the conclusion that Plaintiff does not have a viable negligent-failure-to-warn claim

against Valley Fertilizer. When Valley Fertilizer sold the Roundup®-branded herbicides that

allegedly caused Mr. Coffman’s cancer, Valley Fertilizer did not know – and did not have reason

to know – that those products allegedly pose a cancer risk to humans.

       Plaintiff has no persuasive response to Monsanto’s evidence-based showing that she
fraudulently joined Valley Fertilizer, so she: (1) ignores the unusual but important aspect of

Virginia law discussed above; and (2) relies on unsupported allegations and speculation. Both

strategies fail; there is no persuasive reason for the Court to remand this case.

       First, as discussed above, Virginia law regarding negligent-failure-to-warn claims

requires Plaintiff to meet a higher burden of proof to hold Valley Fertilizer liable in this case than

the burden of proof that applies to such claims in many other states. Here, she is required to

prove that, when Valley Fertilizer sold the Roundup®-branded herbicides that allegedly caused

Mr. Coffman’s cancer, Valley Fertilizer had actual knowledge, or had reason to know, that those

products create a cancer risk for humans. This “reason to know” standard is more favorable for

defendants and imposes a more demanding burden on plaintiffs than the “should know” standard
used in many other states. Although there “is a significant legal difference between [those]

phrases,” Owens-Corning, 413 S.E.2d at 634, Plaintiff ignores that difference. Her argument

fails to take into account that the “reason to know” standard “implies no duty of knowledge on

the part of the actor whereas ‘should know’ implies that the actor owes another the duty of

ascertaining the fact in question.” Funkhouser, 736 S.E.2d at 315 n.5 (quoting Owens-Corning,

413 S.E.2d at 635 (emphasis added)). Plaintiff relies on various publications in scientific

journals and the monograph regarding glyphosate issued by the International Agency for
Research on Cancer discussed in the Complaint to support her assertion that Valley Fertilizer had


                                       8
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 13 of 19




reason to know that Roundup®-branded herbicides and/or glyphosate are possible or probable

human carcinogens. See Remand Motion at 7. But this conclusory argument is directly contrary

to Valley Fertilizer’s sworn interrogatory responses and is based on the erroneous legal premise

that Valley Fertilizer had an ongoing duty to monitor publications in scientific journals or other

scientific developments to assess whether Roundup®-branded herbicides cause cancer. Valley

Fertilizer had no such duty under Virginia law. See supra pages 5-6 (citing, inter alia, Owens-

Corning, 413 S.E.2d at 635). It did not owe Mr. Coffman (or any other customers) a “duty to

ascertain[] the fact in question,” Funkhouser, 736 S.E.2d at 315 n.5 (quoting Owens-Corning,

413 S.E.2d at 635), in this case. Such a duty would be based on a “should know” standard,
which is not the standard that applies to Valley Fertilizer here under Virginia law.7

       Second, Plaintiff relies on unsupported allegations and speculation that Valley Fertilizer

may have actually known, or may have had reason to know, that Roundup®-branded herbicides

cause cancer, see Remand Motion at 7, but those arguments lack merit. When a removing

defendant pierces the pleadings with evidence showing that a non-diverse defendant has been

fraudulently joined – as Monsanto did in the Notice of Removal – a plaintiff seeking remand

cannot rely on mere allegations or speculation lacking evidentiary support. See, e.g., Arias, 2019

7
  Plaintiff claims that the Valley Fertilizer Interrogatory Responses address only lack of actual
knowledge and not whether Valley Fertilizer had reason to know that Roundup®-branded
herbicides cause cancer, see Remand Motion at 8, but that argument misses the mark. Valley
Fertilizer has stated under oath that, when it sold Roundup®-branded herbicides to Mr. Coffman,
“Valley Fertilizer did not know, and had no reason to know, of any alleged causal connection
between cancer and glyphosate, Roundup®-branded herbicides, or other glyphosate-based
herbicides.” Valley Fertilizer Interrogatory Responses (Response to Interrogatory No. 13)
(emphasis added). The interrogatory responses expand upon that statement by explaining how
and when Valley Fertilizer first had reason to know that anyone had alleged the possibility that
Roundup®-branded herbicides may increase the risk of cancer: “[T]he first time that Valley
Fertilizer became aware that anyone had even alleged the possibility that the risk of cancer may
be increased by exposure to glyphosate, Roundup®-branded herbicides, or any other glyphosate-
based herbicides was when Tom Rea, President and General Manager of Valley Fertilizer,
learned from news reports in the late summer/fall of 2018 about large verdicts issued by
California juries against Monsanto Company in lawsuits by plaintiffs alleging that their cancers
were caused by Roundup®-branded herbicides.” Id. Valley Fertilizer also had no information
from any of its customers that would have given it reason to know about any alleged cancer risk
created by Roundup®-branded herbicides: “Valley Fertilizer has never received any statements,
communications, notices, or complaints from any of its customers (except for this lawsuit filed
by Sue Coffman) about glyphosate, Roundup®-branded herbicides, or other glyphosate-based
herbicides allegedly causing (or contributing to causing) cancer.” Valley Fertilizer Interrogatory
Responses (Response to Interrogatory No. 21).
                                       9
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 14 of 19




WL 484192, at *3 (denying remand motion; plaintiff did not state a claim against the non-diverse

defendant because “even assuming [p]laintiff’s legal theories are viable, [p]laintiff has offered no

facts to support these claims” and “submit[ted] no evidence to dispute [d]efendants’ version of

the facts” that established fraudulent joinder (emphasis in original)); Feizbakhsh, 2016 WL

8732296, at *8 (same; plaintiff’s “conclusory allegations” were not sufficient to overcome the

evidence offered by removing defendant to establish fraudulent joinder); Martinez, 2016 WL

5930271, at *3 (same; plaintiff’s “speculation, which is unsupported by any evidence[,]” did not

suffice to overcome evidence presented by removing defendant); Vu, 602 F. Supp. 2d at 1155

(same; accepting removing defendant’s fraudulent joinder showing because plaintiffs did not
contest the in-forum defendant’s declaration “that she did not market or distribute” the products

at issue in the lawsuit). Thus, Plaintiff’s allegations and speculation – which lack evidentiary

support and are contrary to the evidence submitted in the Notice of Removal – fail to support

Plaintiff’s remand argument.8

II.     The Notice Of Removal Was Timely Based On Section 1446(b) Because The Valley
        Fertilizer Interrogatory Responses Were The “Other Paper” That First Made This
        Lawsuit Removable.
        As discussed above, Section 1446(b) provides two thirty-day periods within which a

defendant can file a timely removal notice. The first period requires the defendant to remove a

case within thirty days of service of process, if “the case stated by the initial pleading is

removable on its face.” Carvalho, 629 F.3d at 885 (quotation marks omitted). However, if the

8
  Plaintiff’s effort to conjure up a remand argument based on “the silence of Costco,” Remand
Motion at 8, or the fact that Costco did not file a demurrer, id. at 9, is unavailing. It is
undisputed that Costco does not destroy diversity of citizenship or otherwise block removal. See
supra note 2. Thus, the Notice of Removal did not need to address whether Plaintiff has any
viable claims against Costco. The issue here is whether she has any viable claims against Valley
Fertilizer; the evidence presented in the Notice of Removal establishes that she does not.
Plaintiff cannot rebut Monsanto’s evidence-based showing that she fraudulently joined Valley
Fertilizer by speculating about why Costco – a defendant that is not similarly situated to Valley
Fertilizer in this case – filed an answer instead of a demurrer. Whether Costco knew or had
reason to know that Roundup®-branded herbicides allegedly can cause cancer (and, if so, when
Costco knew or had reason to know) does not shed any light on whether Valley Fertilizer knew
or had reason to know that Roundup®-branded herbicides allegedly can cause cancer (and, if so,
when it knew or had reason to know). Likewise, Plaintiff’s argument about Valley Fertilizer’s
pre-removal venue transfer motion, see Remand Motion at 10, is irrelevant. Valley Fertilizer’s
request for a change of venue (to another Virginia court) has no bearing on the issue now before
this Court – whether Plaintiff fraudulently joined Valley Fertilizer.
                                        10
      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                        3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 15 of 19




case stated by the initial pleading is not removable on its face, the removal statute gives a

defendant a second thirty-day period to file a timely removal notice, if the removing defendant

receives an “other paper” from which removability may first be ascertained. Id. (quoting

§ 1446(b)); see Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250 (9th Cir. 2006) (same).

        That is what happened here; Monsanto complied with Section 1446(b) by timely filing

the Notice of Removal within the second thirty-day period. It is undisputed that the claims

asserted in the Complaint against Valley Fertilizer meant that “the case stated by the initial

pleading,” Carvalho, 629 F.3d at 885, was not removable. The Valley Fertilizer Interrogatory

Responses discussed above were the “other paper from which it may first be ascertained that
[this] case is one which is or has become removable.” § 1446(b)(3). It is undisputed that

Monsanto filed the Notice of Removal within thirty days of the date when Valley Fertilizer

served those interrogatory responses, so that filing was timely under Section 1446(b)(3).

        Although Plaintiff seizes on the Demurrer (filed in January 2021) to claim that the Notice

of Removal (filed March 17, 2021) was untimely based on Section 1446(b), see Remand Motion

at 5-6, that argument lacks merit because the Demurrer did not start the clock running on the

second thirty-day removal period in Section 1446(b). The Demurrer was a bare-bones filing that

set forth solely unsworn arguments by counsel – not the evidence required for Monsanto to

pierce the pleadings and present fraudulent joinder removal arguments. There are two kinds of

fraudulent joinder arguments: (1) a facial challenge to a claim asserted in a complaint (and an
argument that, as a matter of law, the plaintiff does not have a viable claim against a fraudulently

joined defendant); and (2) an evidence-based challenge that, as discussed above, see supra page

3, pierces the pleadings (and shows that the plaintiff does not have a viable claim against a

fraudulently joined defendant). The Notice of Removal made both kinds of arguments, directed

at different claims in the Complaint. Compare Notice of Removal ¶ 15 (showing without

evidence that Plaintiff’s strict liability claims against Valley Fertilizer fail as a matter of Virginia

law) with id. ¶¶ 16-18 (presenting evidence – i.e., the Valley Fertilizer Interrogatory Responses –
to show that Plaintiff’s other claims against Valley Fertilizer are not viable under Virginia law).


                                      11
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 16 of 19




Although Monsanto did not need evidence to challenge Plaintiff’s strict liability claims (they fail

as a matter of Virginia law; Plaintiff does not contend otherwise), Monsanto could not show that

Plaintiff’s other claims against Valley Fertilizer are not viable until Monsanto had evidence to

pierce the pleadings. Of course, a removal notice cannot be filed until the removing defendant

can establish that all claims asserted against the fraudulently joined defendant are not viable

within the meaning of the fraudulent joinder standard discussed above. And, of course, the

arguments made by Valley Fertilizer’s counsel in the Demurrer are not evidence.9

       At best, after Valley Fertilizer filed the Demurrer, Monsanto was faced with unsworn

attorney arguments in the Demurrer based on potential inferences from unsworn allegations in
the Complaint – but Monsanto had no evidence to pierce the pleadings to support an “other

paper” removal at that time. Given such an equivocal, uncertain record and the demanding

burden imposed on defendants asserting fraudulent joinder removal arguments, Monsanto had no

basis to file a removal notice at that time. To start the clock on the second thirty-day period in

Section 1446(b), the information contained in the “other paper” must be “unequivocally clear

and certain in support of removability.” Barakat v. Costco Wholesale Corp., No. 20-cv-02248-

JCS, 2020 WL 3635933, at *4 (N.D. Cal. July 6, 2020) (quotation marks omitted) (denying

remand motion and rejecting Section 1446(b) untimeliness argument); see Mattel, Inc. v. Bryant,

441 F. Supp. 2d 1081, 1089-90 (C.D. Cal. 2005) (same; stating that second thirty-day period in

Section 1446(b) “is triggered only when the information supporting removal is unequivocally
clear and certain” (quotation marks omitted)), aff’d on other grounds, 446 F.3d 1011 (9th Cir.

2006); Highwire Promotions, LLC v. Legends Mktg., LLC, No. CV 05-5425 ABC (FMOx), 2005

WL 8156562, at *3 (C.D. Cal. Oct. 31, 2005) (same; holding that supplemental document

9
  Valley Fertilizer’s counsel made the following conclusory arguments in the Demurrer, but none
of them were supported by any evidence: “The Complaint does not allege nor could it allege
that defendant Valley [Fertilizer] had knowledge, actual or constructive, of the allegedly
dangerous effects of Roundup. The Complaint does not allege no[r] could it allege that
Valley [Fertilizer] was ever notified that it breached any warranties with respect to
Roundup. Since the Complaint does not allege nor could it allege that Valley [Fertilizer]
was aware or should have been aware of the dangerous condition of Roundup or that Valley
[Fertilizer] was ever notified that it breached a warranty with respect to Roundup, the
Complaint fails to state a cause of action for negligence or breach of implied warranties
against Valley [Fertilizer] and should be dismissed.” Demurrer at 3.
                                      12
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 17 of 19




production did not start second thirty-day clock running under Section 1446(b) because those

documents did not give defendants “clear and unequivocal notice” that the case had become

removable). If Monsanto had filed a removal notice based on unsworn attorney arguments in the

Demurrer, Plaintiff would have argued that remand was required because Monsanto lacked any

evidence to support its fraudulent joinder arguments. After waiting to file an evidence-based

removal notice, Monsanto now faces her unwarranted criticism that it waited too long.

       If the “heads I win tails you lose” untimeliness argument that Plaintiff makes here is

accepted by this Court, that ruling would encourage defendants to file premature removal notices

to protect themselves against arguments that they waited too long to file those removal notices.
But premature, protective removal notices are precisely what the Ninth Circuit has admonished

should not be filed. The Ninth Circuit expressed its “concern that defendants may be encouraged

to engage in premature removals in order to ensure that they do not waive their right to removal”

and stated that “the pressure to file a premature notice of removal may lead to the imposition of

Rule 11 sanctions.” Harris v. Bankers Life & Cas. Co., 425 F.3d 689, 697 (9th Cir. 2005). The

court also explained that, ‘[b]y assuring that removal occurs once the jurisdictional facts

supporting removal are evident, we also ensure respect for the jurisdiction of state courts.” Id. at

698; see id. (expressing interest in avoiding “premature and protective removals and

minimiz[ing] the potential for a cottage industry of removal litigation”); Durham, 445 F.3d at

1251 (discussing possibility of Rule 11 sanctions for filing “a baseless notice of removal” and
stating that, “[a]fter Harris, we no longer require defendants to take this blind leap—we don’t

charge defendants with notice of removability until they’ve received a paper that gives them

enough information to remove”); Chan Healthcare Grp., PS v. Liberty Mut. Fire Ins. Co., 844

F.3d 1133, 1142 (9th Cir. 2017) (stating that “a defendant is not put to the impossible choice of

subjecting itself to fees and sanctions by filing a premature (and baseless) notice of removal or

losing its right to remove the case by waiting too long” (citing Durham, 445 F.3d at 1251)).10

10
   Plaintiff’s reliance on the Brittain case is misplaced. See Remand Motion at 6 (quoting
Brittain v. Pac. Cycle, Inc., No. 5:17-cv-00148-RJC-DCK, 2018 WL 6584482 (W.D.N.C. Dec.
14, 2018)). The North Carolina district court judge’s ruling that the removal notice was filed too
late does not address the need to avoid encouraging premature, protective removals – as
                                       13
     MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                       3:16-md-02741-VC & 3:21-cv-02505-VC
          Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 18 of 19




       If it is accepted, Plaintiff’s untimeliness argument would impose on Monsanto exactly the

“impossible choice” that the Ninth Circuit rejected in Chan Healthcare. Instead of prematurely

filing a baseless protective removal notice based on unsworn arguments made by Valley

Fertilizer’s counsel in the Demurrer, Monsanto waited to remove this case until it had evidence –

the Valley Fertilizer Interrogatory Responses – needed to pierce the pleadings and present well-

founded fraudulent joinder arguments. That was the right choice. It was proper based on the

Section 1446(b) “other paper” provision and Ninth Circuit law, so Plaintiff has no persuasive

basis to contend that Monsanto’s Notice of Removal was untimely.11


discussed in the Ninth Circuit rulings cited above. Ninth Circuit precedent governs here, not an
order issued by a district court in the Fourth Circuit. See supra note 4. The Brittain order also
does not account for the distinction between making a facial challenge to a plaintiff’s claim in a
removal notice without presenting evidence in support of the fraudulent joinder argument and
making a fraudulent joinder argument based on evidence that pierces the pleadings. Brittain is
neither binding nor persuasive authority here, so this Court should not rely on that order.
Plaintiff also relies on this Court’s remand ruling in other Roundup lawsuits, see Remand Motion
at 5 (quoting In re Roundup Prods. Liab. Litig. (Abreu, et al.), 396 F. Supp. 3d 893, 897 (N.D.
Cal. 2019)), but that ruling is inapposite because it involved multi-plaintiff cases that Monsanto
removed in a materially different procedural posture than this single-plaintiff case. Unlike this
removal – which is based on important evidence disclosed for the first time in the Valley
Fertilizer Interrogatory Responses that made this case removable based on the Section 1446(b)
“other paper” provision – Monsanto removed those multi-plaintiff cases based on a different
argument: that a severance order issued by a California state court judge triggered removability
under Section 1446(b). In those cases, unlike in this case, Monsanto already had prior
information (from admissions in various complaints or Plaintiff’s Fact Sheets) that certain
plaintiffs were alleging solely residential use of Roundup®-branded herbicides. However, those
plaintiffs were joined with other plaintiffs who did not allege solely residential use and therefore
their claims were not removable on fraudulent joinder grounds. Thus, the residential users’
claims could not be removed absent a severance order. The state court’s severance order had not
gone into effect by the time Monsanto filed those removal notices, and this Court declined to
implement that severance order. That decision led the Court to remand those lawsuits. The
Court held that Monsanto’s removal notices were filed too soon, see Roundup Prods. Liab.
Litig., 396 F. Supp. 3d at 897 (“For Monsanto’s plan to work, the cases would first need to be
severed.”), not that they were filed too late, so that remand ruling also does not support
Plaintiff’s untimeliness argument.
11
   Plaintiff also misses the mark by arguing that “[n]othing prevented Monsanto from inquiring
of Valley [Fertilizer] earlier” based on the information stated in Demurrer and “noticing a
removal by February 11, 2021,” Remand Motion at 6. This argument is based on the assumption
that Monsanto was required to make such an inquiry to avoid an untimeliness argument based on
Section 1446(b). Not so. See, e.g., Barakat, 2020 WL 3635933, at *4 (denying remand motion
and rejecting plaintiff’s Section 1446(b) argument that defendant’s removal notice was untimely;
stating that “courts in the Ninth Circuit generally do not require even the simplest of inquiries on
behalf of a defendant” (quotation marks omitted)); White v. Raley’s, No. 3:20-cv-00457-MMD-
WGC, 2020 WL 8474573, at *3 (D. Nev. Oct. 19, 2020) (same; stating that defendant was not
required to “make further inquiry” (quoting Harris, 425 F.3d at 694)).

                                      14
    MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                      3:16-md-02741-VC & 3:21-cv-02505-VC
         Case 3:21-cv-02505-VC Document 7 Filed 04/30/21 Page 19 of 19




                                         CONCLUSION

       For the foregoing reasons, the Court should deny the Remand Motion.12

DATED: April 30, 2021                                    Respectfully submitted,

                                                         /s/ Eric G. Lasker
William Hoffman (pro hac vice)                           Eric G. Lasker (pro hac vice)
(william.hoffman@arnoldporter.com)                       (elasker@hollingsworthllp.com)
Daniel S. Pariser (pro hac vice)                         Martin C. Calhoun (pro hac vice)
(daniel.pariser@arnoldporter.com)                        (mcalhoun@hollingsworthllp.com
ARNOLD & PORTER KAYE SCHOLER LLP                         HOLLINGSWORTHLLP
601 Massachusetts Avenue, NW                             1350 I Street, NW
Washington, DC 20001                                     Washington, DC 20005
Tel: 202-942-5000                                        Tel: 202-898-5800
Fax: 202-942-5999                                        Fax: 202-682-1639

                                                         Brian L. Stekloff (pro hac vice)
                                                         (bstekloff@wilkinsonstekloff.com)
                                                         Rakesh Kilaru (pro hac vice)
                                                         (rkilaru@wilkinsonstekloff.com)
                                                         WILKINSON STEKLOFF LLP
                                                         2001 M Street, NW, 10th Floor
                                                         Washington, DC 20036
                                                         Tel: 202-847-4030
                                                         Fax: 202-847-4005

                          Attorneys for Defendant Monsanto Company




12
  If the Court decides to remand this case, the Court should deny Plaintiff’s request for fees and
costs because, as shown above, Monsanto had an objectively reasonable basis for removing this
case to this Court. See Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005) (“[W]hen an
objectively reasonable basis exists [for seeking removal], fees should be denied.”).
                                       15
     MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND COFFMAN CASE
                       3:16-md-02741-VC & 3:21-cv-02505-VC
